                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                              )
       v.                                     )         CASE NO. 4:12-CR-17
                                              )
WILLIAM WILLIAMS                              )


                                            ORDER

       On June 12, 2012, Magistrate Judge William B. Mitchell Carter filed a Report and

Recommendation recommending (a) the Court accept Defendant=s plea of guilty to the lesser

included offense in Count One of the Indictment, conspiracy to manufacture 5 grams or more of

methamphetamine or 50 grams or more of a mixture and substance containing methamphetamine,

a Schedule II controlled substance, in violation of 21 USC '' 846 and 841(a)(1) and (b)(1)(B), in

exchange for the undertakings made by the government in the written plea agreement; (b) the

Court adjudicate Defendant guilty of the charges set forth in the lesser included offense in Count

One of the Indictment; (c) that a decision on whether to accept the plea agreement be deferred until

sentencing; and (d) Defendant shall remain in custody pending sentencing in this matter (Doc. 72).

Neither party filed an objection within the given fourteen days. After reviewing the record, the

Court agrees with the magistrate judge=s report and recommendation. Accordingly, the Court

ACCEPTS and ADOPTS the magistrate judge=s report and recommendation pursuant to 28

U.S.C. ' 636(b)(1) and ORDERS as follows:

       (1) Defendant=s plea of guilty to the lesser included offense in Count One of the Indictment,

in exchange for the undertakings made by the government in the written plea agreement, is

ACCEPTED;

       (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included



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offense in Count One of the Indictment;

       (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

and

       (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

October 15, 2012, at 2:00 pm.

       SO ORDERED.

       ENTER:



                                                        /s/ Harry S. Mattice, Jr._______
                                                       HARRY S. MATTICE, JR.
                                                  UNITED STATES DISTRICT JUDGE




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